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 3
                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF CALIFORNIA
 5
 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )               1:03-cr-5418 OWW
 8                                 )
          v.                       )
 9                                 )
     CARLITO VELASCO,              )
10                                 )
                    Defendant      )          ORDER FOR RELEASE
11   ______________________________)
12
          It is hereby ordered that the above named defendant be
13
     released from the custody of the United States Marshal upon the
14
     previously imposed terms and conditions.
15
16   Dated: June 20, 2005                     /s/ OLIVER W. WANGER
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17                                            OLIVER W. WANGER
                                              United States District Judge
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